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                     IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF NEW MEXICO

UNITED STATES OF AMERICA,

               Plaintiff,

v.                                                       Case No. 19-CR-764 JB

RAYMOND BLAIR KOSIER,

               Defendant.


            MOTION TO WITHDRAW AS COUNSEL FOR DEFENDANT

       COMES NOW Assistant Federal Public Defender James C. Loonam, by and on

behalf of the Federal Public Defender Organization for the District of New Mexico, and

moves this Court for leave to withdraw as counsel for Raymond Blair Kosier. As

grounds, counsel states:

       1.      The Federal Public Defender was appointed to represent Mr. Kosier on

April 10, 2019.

       2.      A conflict of interest exists between Mr. Kosier and another client of this

office that precludes representation of Mr. Kosier. Counsel requests that counsel from

the CJA Panel of attorneys be appointed to represent Mr. Kosier.

       WHEREFORE, counsel respectfully requests leave of court to withdraw as

counsel for Mr. Kosier, to be relieved of any further responsibility for representation of

him in this matter, and for such other and further relief, as the court deems proper.
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                               Respectfully submitted,

                               FEDERAL PUBLIC DEFENDER
                               111 Lomas NW, Suite 501
                               Albuquerque, NM 87102
                               (505) 346-2489


                                 /s/ filed electronically on 4/17/19
                               JAMES C. LOONAM, AFPD
                               Attorney for Defendant
